                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

 KAYLON M. BATTS,                               )
                                                )
               Petitioner,                      )
                                                )
 v.                                             )       Nos.: 3:13-CR-67-TAV-HBG-1
                                                )             3:16-CV-356-TAV
 UNITED STATES OF AMERICA,                      )
                                                )
               Respondent.                      )


                                     JUDGMENT ORDER

        For the reasons expressed in the accompanying memorandum opinion, it is ORDERED

 and ADJUDGED that Petitioner’s § 2255 motion [Doc. 118] is DENIED and DISMISSED

 WITH PREJUDICE. If Petitioner files a notice of appeal from this judgment, such notice of

 appeal will be treated as an application for a certificate of appealability, which is DENIED

 pursuant to 28 U.S.C. § 2253(c)(2) and Fed. R. App. P. 22(b) because she has failed to make a

 substantial showing of the denial of a federal constitutional right. The Court CERTIFIES

 pursuant to 28 U.S.C. § 1915(a)(3) and Fed. R. App. P. 24 that any such appeal from this

 judgment would be frivolous and not taken in good faith.

        ENTER:


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

       s/ Debra C. Poplin
      CLERK OF COURT




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